 

Case 6:20-cv-00963-ADA Document 1-3 Filed 10/15/20 Page 1 of 1

AO 120 (Rev. 08/10)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TO: Mail Stop 8 REPORT ON THE
‘ Director of the U.S. Patent and Trademark Office FILING OR DETERMINATION OF AN
P.O. Box 1450 ACTION REGARDING A PATENT OR
Alexandria, VA 22313-1450 TRADEMARK
In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
filed in the U.S. District Court Western District of Texas - Waco District on the following
(_] Trademarks or [VW Patents. ( L] the patent action involves 35 U.S.C. § 292.):
DOCKET NO. DATE FILED U.S. DISTRICT COURT
6:20-cv-0963 10/15/2020 Western District of Texas - Waco District

PLAINTIFF DEFENDANT

RFID Technology Innovations, LLC Zoho Corporation

PATENT OR DATE OF PATENT
TRADEMARK NO. OR TRADEMARK HOLDER OF PATENT OR TRADEMARK

1 U.S. 9,582,689 2/28/2017 RFID Technology Innovations, LLC

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In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED INCLUDED BY
(] Amendment (] Answer CL] Cross Bill (| Other Pleading
PATENT OR DATE OF PATENT
TRADEMARK NO. OR TRADEMARK HOLDER OF PATENT OR TRADEMARK

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In the above—entitled case, the following decision has been rendered or judgement issued:

DECISION/JUDGEMENT

CLERK (BY) DEPUTY CLERK DATE

 

 

 

 

 

Copy 1— Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
